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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO: l?-CV-60098-WJZ

CLAUDIO ALFONSO PALLARES, et al.
Plaintiffs,

Vs.
CWC TRANSPORTATION, LLC, Et. al.,

Defendants.
/

 

DEFENDANTS’ REPLY TO PLAINTIFF’S RESPONSE TO
DEFENDANTS’ MOTION FOR SUMMARY JUDGEMENT
The Defendants tile this Reply to the Plaintiffs7 Response to the Defendants’ Motion for
Summary Judgrnent.
INTR()DUCTION
The sole issue before the Court is Whether the Plaintiffs transportation of Petroleurn
Products from the Suppliers’ terminals at Port Everglades, Florida to the retail gas stations Was
part of the practical continuous stream of interstate commerce The Piaintiffs contend that their
duties Were not part of interstate commerce The Defendants contend that the Plaintift`s’ duties
are part of interstate commerce; as such the Motor Carrier EXemption (“MCE”) applies to the
case at bar', therefore the Defendants’ Motion for Su.mmary Judgrnent should be granted.
ARGUMENT
I. Plaintiffs Pled ’I`hat Thev Were Engage@) Interstate Commerce
The Plaintiffs clearly pled in their three (3) versions of the Complaint (DE l, 113; DE 30
1[3; & DE 45 13) that the Plaintiffs Worked as truck drivers delivering petroleum products for the
Defendants and that the Defendants “engaged along With its employees in interstate comrnerce.”
(DE 63 §IH(A); SOF 1111 & 13.)
The Plaintiffs are now claiming that the only reason that they pled as they did Was to
establish the FLSA’s Enterprise Coverage. (DE 63, P.3) The Plaintifl`s’ argument is defective in

that the plain language of their averment states that the Plaintit`fs are all employees driving and

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transporting petroleum products for their employer the Defendants and that the Defendants
engaged along w_itll its employees in interstgt_e commerce Id. There Was no reference in the
Complaints that this averment Was for or limited to the establishment of FLSA’ Enterprise
Coverage.

The Plaintiffs cited no legal authority to support their claim that What they pled, Was not
What they meant, and/or that What they pled Was limited to establishing the applicability of the
FLSA and not to invoke the Motor Carrier Exemption.

The Plaintiffs attempted to bolster support for their argument by relying on the Order by
the Honorable Ursula Ungaro, denying a l\/Iotion to Disrniss in regards to a similar case With the
same Defendants, but a different Plaintiff. The core rationale behind Judge Ungaro’s Order of
denial Was that, “Because the Court is limited to the four corners of the Plaintist Complaint in
ruling on a motion to dismiss under Rule 12(b)(6) and based on Plaintiff’ s allegations, [the
Court] cannot find that Defendants satisfy either prong of the motor carrier exemption.”l This is
the same rationale applied by this Court in Honorable ludge William J. Zloch’s Order [DE-67]
denying a mirror motion to dismiss in this action. Judge Zloch wrote “that the legal issues raised
by Defendants instant motion [Motion to Dismiss] are more properly addressed in a Motion for
Surnmary Judgment, When discovery may present the Court With a full record upon Which it may
address and decide said issues.” [DE-67]

P1aintiffs must include factual allegations for each essential element of their claim in their
complaint GeorgiaCarrj).org, Inc. v. Georgia, 687 F.3d 1244, 23 Fla. L. Weekly Fed. C 1323
(l lth Cir.J 2012); and that judicial admissions must be clear, deliberate, and unequivocal factual
assertions_Whether made in pleadings, stipulations, responses to discovery, or orally in trial or
court proceedings In re Malfa, No. 09~42273, 2012 WL 909738, *2 (Bkrtcy. N.D. Ga. Feb. 8,
2012) (quoting Keller v. Unired States, 58 F.3d 1194, 1199 n. 8 (7th Cir.1995). Further, such
“factual assertions in pleadings and pretrial orders are considered to be judicial admissions
conclusively binding on the party Who made them.” White v. Arco/polymers, Inc., 720 F.2d 1391
(5th Cir. 1983), citing Myers v. Manchesrer insurance & Indemnily Co., 572 F.Zd l34 (5th Cir.
1978; Langdale Co. v. Nat’l Union Fr're Ins. Co. ofPittsburgh, ll() F.Supp,3d 1285, l293 (N.D.

 

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Ga., 2014) ("Judicial admissions ‘in judicio’ are ‘formal concessions in the pleadings, or
stipulations by a party or its counsel, that are binding upon the party making them."‘

For the Plaintiffs to now be allowed to recant or ignore their previous pleadings Would be
repugnant to the holdings and responsibilities detailed in GeorgiaCarry.org, Inc., 687 F.3d at
1244; et. al. Accordingly, this Court should find that the Plaintiffs’representation in their
Complaint that they engaged in interstate commerce is a proper admission.

II. Plaintiffs’ Clean Air Act & Additive Argl_iment is Meritless

The Plaintiffs’ theory that the Clear Air Act of l970, as amended in 1990 (“CAA”),
required a change to the material character of the gasoline received at the Supplier’s fuel
terminals that resulted in the termination of the interstate character of the petroleum products, is
without any supporting authority.

None of the cases cited by the Plaintiffs in their Motion for Summary ludgrnent or in
their Response to the Defendants’ Motion for Sumrnary ludgment, Where the issue of material
changes to products were addressed, involved petroleum products, nonetheless the CAA. As
such, the PlaintifF s argument relying on the CAA and the addition of chemical additives and/or
ethanol, has no precedential or judicial support

Any additives to the Suppliers’ petroleum products made at Port Everglades Was made by
the Suppliers and not the Defendants or the Plaintiffs, as the Det`endants Were common carriers
of the Suppliers products (ZdSOF 111{6 - 10.) ln Galbreath v. Gulf oil Corp., 413 F 2d 941 (5th
Cir. l969), the Court held that “no processing or other material change occurred during transit by
a third party transporting company, (a common carrier like the Defendants in the case at bar) Who
facilitated transporting the products to another terminal Id.

In Narbona v. Gold Coast Bevemge Distributors, Inc., 1:13-CV-24l48-UU 20l4 WL
11906594 *6 (S.D. Fla. July 15, 2014), the Court held that While the beer products Were in the
possession of the Defendants, the beer products Were never altered or modified and as such,
constituted “one continuous stream of interstate commerce.” Accordingly, the l\/[otor Carrier

Exemption applies as a matter of laW. Id.

 

l Avila v. CWC Transportation, et al, Case No. 17-CV-6()041; [DE-13, p.5]

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This Court should apply the holdings in both Galbreadth and Narbona, to the present
action, because as in the case at bar, there was clearly no processing or other material changes
that occurred to the petroleum products once the petroleum products were turned over to the
Plaintiffs/drivers on behalf of the Defendants. (2d SOF 111{8,10.)

III. The Shipper’s Fi;ed and Persistent Intent in Their Petroleum Products l)id Not End
When The Petroleum Products Arrived at Port Everglades, Florida.

“A critical factor in determining the shipments essential character is the shipper's ‘fixed
and persisting intent1 at the time of the shipmen ." Mena v. McArrhur Daz`rjy, LLC, 352 Fed.
Appx. 303, 306 (11 Cir. 2009) (quoting 29 C.F.R. § 782.7(b)(2)). This intent is to be assessed
"f`rom all of the facts and circumstances surrounding the transportation.“ Mena, 352 Fed. Appx.
at 306 n.2 (internal quotes omitted).

ln their Motion for Summary Judgment, the Plaintiff`s relied on Rumero v. Fuelrech Oi`l
Service, Corp., 09-21948, 2010 WL11505519 (S.D. Fla. April 5, 2010) to impute the Shippers’
fixed and persistent intent in the case at bar. Even though, Romero was clearly distinguishable
from the facts in the case at bar, Romero is instructive in determining what a shippers’ intent is.

The Romero Court held that since the shippers’ intent was only to get the fuel into
Florida, but not to continue on as a separate leg of interstate commerc the Defendants’ intrastate
distribution of the fuel does not meet the interstate commerce requirement.” Id. at 10.

In Romero, the Court found that: (i) each purchase of fuel was for later distribution from
outside sellers. Ia'. at 2; (ii) once the fuel products are delivered to Port Everglades by supplier,
the supplier’s trucks transported the fuel to the Defendants’ own local facility, where it is placed
into the Defendants’ own temporary storage tanks. ld. at 2, 3; (iii) the Defendants distribute their
fuel to their own customers Id. at 3; (iv) there is no evidence that the supplier had any contact
with the Defendants’ customers or with the fuel after it is placed in the Defendants’ storage
tanks ld. at 3; (v) the shippers did not have contracts with the retail gas stations or other fuel
end-users. The Romero Court, based on these facts, could not conclude that the shipper had a
fixed and persistent intent for the fuel to continue past the storage point, as this storage point

belonged to the Romero Defendants, not the Supplier. Id. at 10.

 

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The Romero facts are clearly distinguishable from the case at bar. The Defendants at bar
do not sell or broker the sale of petroleum products to anyone, they are a common carrier whose
sole purpose is the transportation of petroleum products from the Suppliers’ fuel terminals at Port
Everglades to the Suppliers’ end-user retail customers This is supported by a Bill of Lading that
is created for each delivery, based on historical sales, standing orders and end-user usage by the
Suppliers’ retail gas stations (SOF 1[1]9 & 10; AFF. ‘|HIZS, 26; 2d SOF ill 3, 4, 11,12)2 At no time
did the Plaintiffs/drivers transport petroleum products from the Suppliers’ fuel terminals to third
party facility or facilities owned or controlled by the Defendants; all deliveries were made directly
from the Suppliers terminals to the end-user retail gas station as reflected on the Bills of Lading.
(2d SOF 1113,15.)

Even though the Plaintiffs cites 29 C.F.R. §782.7(b)(2), in support of their argument, the
Plaintiffs failed to reference the DOT’s issued guidance as to its jurisdiction under the Motor
Carrier Act for “motor traffic moving from warehouses or similar facilities to points in the same
state after or preceding a movement from another state.” 57 Fed. Reg. 19812, 19813 May 8,
1992. These newer DOT guidelines incorporate case law that was developed subsequent to the
cases upon which section 782.7(b)(2) was originally based U.S. Departrnent of Labor, Wage and
Hour Division, Opinion Number FLSA-2005-10, lanuary 11, 2005 (“DOL-FLSA 2005-10.”)

The DOT pursuant to 57 Fed Reg. 19812 provides the factors for determining the “fixed
and persisting intent” of a shipper (i.e. the Suppliers). The Plaintiffs argued against the
application of DOL~FLSA 2005-10, in part, because the party in DOL-FLSA 2005-10 only met
three (3) of the seven (7) delineated factors in opining that the party had the requisite fixed and
persisting intent required under interstate commerce DOL~FLSA 2005-10 at P.3. ln the case at
bar, all seven (7) of the factors are met (DE-54, P.15; AFF. 1[28). The DOL further holds that the
presence of any of the following additional factors is not sufficient to break the continuity of the
interstate character of transportation; (i) Shipper’s lack of knowledge of the specific, ultimate

destination, or consignee at the time the shipment leaves its out of state origin; (ii) separate bills of

 

2 Bills of Lading includes who the Supplier & their Marketing/Disuibution Agent is, the common
carrier (the Defendant), the driver, the end-user customer, the contents of the fuel transportation and
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lading for inbound or outbound movements; (iii) Storage-in-transit tariff provisions; (iv) storage
receipts issued by the warehouse distribution centers; (v) time limitations on storage; (vi) payment
of transportation charges by the warehouse or distribution center, when the shipper or consignee is
ultimately billed for these charges; (vii) routing of the outbound shipments by the distribution
center; (viii) a change in carriers or transportation modes at a distribution facility; (ix) use of
brokers retained by the shipper; (x) use of a warehouse not owned by the shipper. 57 Fed Reg. at
19813; DOL-FLSA 2005-10 at P.3.

Not only does the present action meet all seven (7) factors set forth by the DOL for
determining the fixed intent of the shipper/supplier to engage in interstate commerce; but the
further clarifying factors, which according the DOL would not undermine the supplier’s intent,
further negates any argument by the Plaintiffs’ that the Suppliers did not have the requisite intent to
engage in interstate commerce ld.

The Plaintiffs further argue that the Plaintiffs do not fit into either Category A or B, as set
forth in DOL-FLSA 2005-10 at P.3. [DE-63, P14] The Plaintiffs are incorrect Based on the
delineated factors the Plaintiffs fit into both Categories. If the Court found that the Suppliers’
Distributors/marketers are working on behalf of the Suppliers as their agents (AFF. WS, 27, 28), the
Plaintiffs would be in Category A. lf the Court found that the Suppliers transferred their interest to
their Distributors/marketers before the products were delivered to the retail end-user as opposed to
the Supplier themselvesj then the Plaintiifs Would fall under Category B. Either way, the Plaintiffs
satisfy the Category issue in DOL FLSA 2005-10 at P.3, and qualify as interstate activity under the
Motor Carrier Act. Ia'.

ln DOL-FLSA 2005-10, the facts are completely analogous to the case at bar as it
involves an employer that facilitates transportation by truck of shipments of gasoline, diesel fuel,
and ethanol that have previously moved across state lines by pipeline, rail, or ship. These
petroleum products have been produced by the major petroleum refining companies (Suppliers)
and shipped by various means to their retail customers and commercial users The truck drivers

pick up the petroleum products at various terminals or storage facilities after their previous

 

that the firel is proper condition for transportation, along with the fact the fuel had already been
additivized. (AFF_ ‘|127, 283 2d SOF 1l3.)
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movement and transports the petroleum products over the last leg of the delivery to the retail
customers (2d SOF 1{1]3,4.) The question posed to the DOL is whether these drivers (like the
Plaintiffs at bar) are subject to the FLSA’s section l3(b)(l) overtime exemption during this
intrastate movement The DOL held that the foregoing facts qualify as interstate activity under
the MCA, and thus the drivers are exempt from overtime under section l3(b)(1). DOL-FLSA
2005-10.

The Defendants recognize that unlike an agency's interpretation of ambiguous statutory
terms or its own regulations "an agency has no special competence or role in interpreting a
judicial decision." Srate of N.Y_ v. Shalala, 119 F.3d 175, 180 (2d Cir.1997). However, the
Supreme Court has held in Skidmore v. Swift & Co., 323 U.S. l34, 140 (1944) that the “rulings,
interpretations and opinions of the Adrninistrator under this Act, while not controlling upon the
courts by reason of their authority, do constitute a body of experience and informed judgment to
which courts and litigants may properly resort for guidance." Ia’. See Long Islana' Care ar Horne,
Ltd. v. Coke, 551 U.S. 158, 165 (2007) (explaining that the Secretary of Labor is authorized "to
prescribe necessary rules, regulations and orders with regard to the amendments made by this
Act.") Consequently, the DOL’s interpretation is entitled, at least, to Skidmore deference to the
extent the Court finds the interpretations rulings, and opinion letters persuasive Gl'att v. Fox
Searchlighr Picrures, Inc., 13-4478-CV (2d Cir. 2015.)

lt is understandable why the Plaintiffs failed to acknowledge in their Motion for
Summary ludgment, 57 Fed. Reg. 19812 (May 8, 1992); DOL Wage and Hour Division, Fact
Sheet #19, November 2009 (“DOL Fact Sheets#19); or DOL-Opinion Letter FLSA 2005-10;
because the DOL publications are clearly on point and dispositive to the proper finding that the
Parties were engaged in interstate commerce

The Skidmore Court held that when considering the deference to "rulings, interpretations
and opinions of the Adrninistrator," the “weight of such a judgment in a particular case will
depend upon the thoroughness evident in its consideration, the validity of its reasoning, its
consistency with earlier and later pronouncements and all those factors which give it power to
persuade if lacking power to control." Ski`dmore, 323 U.S. at 140', Arriaga v. Florida Pacific
Farrns, LLC, 305 F.3d 1228 (11th Cir. 2002.) Respectfully, this Court should find the cited DOL

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publications persuasive and adopt the cited DOL opinion, interpretation, and fact sheet,
applicable to the present action and for guidance in reaching its decision in the case at bar.

The “fixed and persisting intent of the Suppliers at the time of the shipments” in the case
at bar as manifested “from all of the facts and circumstances surrounding the transportation,”
Mena 352 Fed. Appx. at 306, has been clearly established that the Suppliers’ intent from the time
the petroleum products was refined at the Suppliers’ refineries, shipped interstate to Port
Everglades, where the Plaintiffs/drivers delivered the petroleum products to the Suppliers’ end-
user retail gas stations was to engage in interstate commerce (2d SOF 1l1l3,4.)

SYNOPSIS & CONCLUSION

lt is abundantly clear, that the Plaintiffs and the Defendants are engaged in interstate
commerce; not only as pled by the Plaintiffs in their Complaint; but because the Defendants have
unequivocally shown that the Plaintiffs’ transportation of petroleum products for the Suppliers
was clearly part of the "practical continuity of movement" across state lines as the final leg in
interstate commerce in conformity with the controlling law and DOL guidelines ln closing, the
Defendants want to direct to Court’s attention to the following salient undisputed material facts
and points of law:

1. The Plaintiffs clearly pled in their three (3) versions of the Complaint (DE 1, 113;
DE 30 113; & DE 45 il3) that the Plaintiffs worked as truck drivers delivering petroleum products
for the Defendants and that the Defendants “engaged along with its employees in interstate
cornmerce.” (DE 63 §lll(A); SOF 1111 & 13.)

2. None of the cases cited by the Plaintiffs in their l\/lotion for Summary Judgment or
in their Response to the Defendants’ l\/lotion for Summary Judgment, where the issue of material
changes to products were raised, involved petroleum products nonetheless the CAA. As such,
the Plaintiffs’ argument relying on the CAA and the addition of chemical additives and/or
ethanol, has no precedential or judicial support

3. Any additives to the Suppliers’ petroleum products made at Port Everglades were
made by the Suppliers and not the Defendants or the Plaintiffs, before the Plaintiffs took control
of the petroleum products loaded into their trucks The Defendants were common carriers of the

Suppliers petroleum products

 

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4. Even though 57 Fed. Reg. 19812 (l\/lay 8, 1992); DOL Wage and Hour Division,
Fact Sheet #19, November 2009 (“DOL Fact Sheets#l9); and DOL-Opinion Letter FLSA 2005-10
should only be given Skidmore deference, the DOL’s body of experience and informed judgment
to which courts and litigants may properly resort for guidance, which is consistent with the
controlling statutory authority in support of the MCE and its application to the case at bar. No
case was cited that would negate the application of these DOL publications to the present action

5. The Plaintiffs failed to initially acknowledge 57 Fed. Reg. 19812 (May 8, 1992;
DOL Wage and Hour Division, Fact Sheet #19, November 2009 (“DOL Fact Sheets#l9); or
DOL~Opinion Letter FLSA 2005-10; in their pleadings which are clearly on point and dispositive
to the proper finding that the Parties Were engaged in interstate commerce

6. The DOL publication of 57 Fed. Reg. 198l2, 19813 l\/lay 8, 1992; DOL-FLSA
2005-10; and DOL-Fact Sheet #19, in 2009, were published well after the enactment of the Clean
Air Act in 1970. However, the Clean Air Act was never referenced or even footnoted by the
DOL in any of their publications

7. The Plaintiffs’ CAA argument was not referenced in any of the cases the Plaintiffs
cited in support of their position and there are no interstate commerce cases identified, that
include the Clean Air Act as an argument that relate to issues at bar.

8. There are no petroleum transportation cases cited by the Plaintiffs’ in either their
Motion for Summary Judgment or in their Response to the Defendants’ Motion for Summary
Judgment that were decided subsequent to the enactment of 57 Fed. Reg. 19812; the publication
of the DOL FLSA 2005-10, or their Fact Sheet #19, which were instructive and relied upon 57
Fed. Reg. 19812, with the exception of Romero.

9. At no time did the Romero decision address the CAA argument advanced by the
Plaintiffs or raise any of the aforementioned DOL interpretations opinion letters, and rulings

10. The DOL Fact Sheet #19, published in November 2009, clearly and without any
ambiguity sets forth and mirrors the statutory criteria of applying the l\/ICE to the present action,
with the benefit of the interpretation and opinions of the DOL published under: 57 Fed. Reg.
19812, 19813 May 8, 1992; DOL-FLSA 2005-10; DOL Fact Sheet #19.

 

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For the foregoing reasons, the Defendants respectfully request that this Honorable Court
grant the Defendant’s Motion for Surnrnary Judgment and declare that the parties herein clearly
fall within the Motor Carrier Exemption, under Section 13 (b)(l) of the FLSA and 29 U.S.C.

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Respectfully sub "'ed: _,//
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CERTIFICATE OF SERVICE
l certify that a copy of this pleading which was liled with the Clerk of the Court Was
provided to the Plaintist attorney, Elliot Kozolchyk, Esquire, Koz Law, P.A. 320 SE 9th Street,
Fort Lauderdale, FL 33316 @ ekoz@kozlawfirm.com via the CM/ECF-Portal on Nov. 13, 2017.
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